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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF KENTUCKY
                          CENTRAL DIVISION at LEXINGTON


 SALINA RILEY,                              )
                                            )
       Plaintiff,                           )     Civil No. 16-cr-157-JMH
                                            )
 vs.                                        )     MEMORANDUM OPINION & ORDER
                                            )
 WELLS FARGO BANK, N.A.,                    )
                                            )
       Defendant.                           )

                           **     **        **      **    **

       In    light   of    the   parties’        Stipulation   of    Dismissal   With

 Prejudice [DE 45] and the Court being adequately advised, IT IS

 ORDERED:

       (1)    That   all    claims     in   this     matter    are   DISMISSED   WITH

 PREJUDICE, with each party to bear her or its own costs and

 attorneys’ fees and

       (2)    That the Clerk shall STRIKE THIS MATTER FROM THE ACTIVE

 DOCKET.

       This the 8th day of August, 2017.
